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                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA


                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                            WESTERN DIVISION

ATASHA BUSH,

       Plaintiff,                             CASE NO.:

-VS-

AMSHER COLLECTION SERVICES,
INC.,

        Defendant.
                                 /

                COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW Plaintiff, ATASHA BUSH, by and through the undersigned

counsel, and sues Defendant, AMSHER COLLECTION SERVICES, INC., and in

support thereof respectfully alleges violations of the Telephone Consumer

Protection Act, 47 U.S.C. §227 et seq. (“TCPA”) and the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”).

                                 INTRODUCTION

       1.       The TCPA was enacted to prevent companies like Defendant from

invading American citizen’s privacy and prevent abusive “robo-calls.”

       2.       “The TCPA is designed to protect individual consumers from

receiving intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs.,

LLC, -US--, 132 S.Ct. 740, 745, 181 L.Ed. 2d 881 (2012).

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      3.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

scourge of modern civilization, they wake us up in the morning; they interrupt our

dinner at night; they force the sick and elderly out of bed; they hound us until we

want to rip the telephone out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator

Hollings presumably intended to give telephone subscribers another option: telling

the auto-dialers to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F.

3d 1242, 1256 (11th Cir. 2014).

      4.       According to the Federal Communications Commission (FCC),

“Unwanted calls and texts are the number one complaint to the FCC. There are

thousands of complaints to the FCC every month on both telemarketing and

robocalls. The FCC received more than 215,000 TCPA complaints in 2014."

https://www.fcc.gov/document/fact-sheet-consumer-protection-proposal

                           JURISDICTION AND VENUE


      5.       This is an action for damages exceeding Seventy-Five Thousand

Dollars ($75,000.00) exclusive of attorney fees and costs.

      6.       Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action

involves violations of the TCPA.

      7.       Subject matter jurisdiction, federal question jurisdiction, for purposes

of this action is appropriate and conferred by 28 U.S.C. § 1331, which provides
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that the district courts shall have original jurisdiction of all civil actions arising

under the Constitution, laws, or treaties of the United States; and this action

involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin.

Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B., 746

F.3d 1242, 1249 (11th Cir. 2014)

      8.       The alleged violations described herein occurred in Tuscaloosa

County, Alabama. Accordingly, venue is appropriate with this Court under 28

U.S.C. §1391(b)(2), as it is the judicial district in which a substantial part of the

events or omissions giving rise to this action occurred.

                             FACTUAL ALLEGATIONS

      9.       Plaintiff is a natural person, and citizen of the State of Alabama,

residing in Tuscaloosa County, Alabama.

      10.      Plaintiff is an “alleged debtor.”

      11.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A.,

755 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F. 3d

1242 (11th Cir. 2014).

      12.      Defendant is a corporation which was formed in Alabama with its

principal place of business located at 4524 Southlake Parkway, Suite 15, Hoover,

Alabama 35244 and which conducts business in the State of Alabama serving as its

own registered agent.

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      13.    Defendant is a “debt collector” as defined by 15 U.S.C. § 1692(a)(6).

      14.    The debt that is the subject matter of this complaint is a “consumer

debt” as defined by U.S.C. § 1692(a)(5).

      15.    Defendant called Plaintiff on Plaintiff’s cellular telephone hundreds of

times in an attempt to collect an alleged debt.

      16.    Defendant attempted to collect an alleged debt from Plaintiff by this

campaign of telephone calls.

      17.    Plaintiff is the subscriber, regular user, and carrier of the cellular

telephone number (205) ***-1398 and was the called party and recipient of

Defendant’s calls.

      18.    Upon receipt of the calls from Defendant, Plaintiff’s caller ID

identified the calls were being initiated from, but not limited to, the following

telephone numbers: (205) 533-8426 and (877) 345-1727.

      19.    Upon information and belief, some or all of the calls Defendant made

to Plaintiff’s cellular telephone number were made using an “automatic telephone

dialing system” which has the capacity to store or produce telephone numbers to be

called, using a random or sequential number generator (including but not limited to

a predictive dialer) or an artificial or prerecorded voice; and to dial such numbers

as specified by 47 U.S.C § 227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will

testify that she knew it was an auto-dialer because of the vast number of calls she

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received and because she heard a pause when she answered her telephone before a

voice came on the line and she received prerecorded messages from Defendant.

      20.    On several occasions over the last four (4) years, Plaintiff instructed

Defendant’s agent(s)/representative(s) to stop calling her cellular telephone.

      21.    In or about August 2017, Plaintiff answered a call from Defendant to

her   aforementioned     cellular   telephone      number.   Plaintiff   spoke   to   an

agent/representative of Defendant and informed the agent/representative that the

calls to her cellular telephone were harassing and demanded that they cease calling

her telephone number.

      22.    Each subsequent call Defendant made to Plaintiff’s aforementioned

cellular telephone number was knowing and willful and done so without the

“express consent” of Plaintiff.

      23.    Despite clearly and unequivocally revoking any consent Defendant

may have believed they had to call Plaintiff on her cellular telephone, Defendant

continues to place automated calls to Plaintiff.

      24.    In or about November 2017, Plaintiff answered a call from Defendant

to her cellular telephone. Plaintiff informed the agent/representative of Defendant

on the line that she has already asked for all calls to her cellular telephone to cease,

and again demanded a cessation of the harassing automated calls to her cellular

telephone from Defendant.

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      25.    Plaintiff’s      numerous             conversations   with   Defendant’s

agent(s)/representative(s) over the telephone wherein she demanded a cessation of

calls were in vain as Defendant continues to bombard her with automated calls

unabated.

      26.    Defendant intentionally harassed and abused Plaintiff on numerous

occasions by calling several times during one day and on back to back days, with

such frequency as can reasonably be expected to harass.

      27.    Defendant has a corporate policy to use an automatic telephone

dialing system or a pre-recorded or artificial voice to individuals just as they did to

Plaintiff’s cellular telephone in this case.

      28.    Defendant has a corporate policy to use an automatic telephone

dialing system or a pre-recorded or artificial voice, just as they did to Plaintiff’s

cellular telephone in this case, with no way for the consumer or Defendant to

remove the number.

      29.    Defendant’s corporate policy is structured as to continue to call

individuals like Plaintiff despite these individuals explaining to Defendant they

wish for the calls to stop.

      30.    Defendant has numerous other federal lawsuits pending against them

alleging similar violations as stated in this Complaint.



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       31.      Defendant has numerous complaints against them across the country

asserting that their automatic telephone dialing system continues to call despite

being requested to stop.

       32.      Defendant has had numerous complaints from consumers against

them across the country asking to not be called, however Defendant continues to

call the consumers.

       33.      Defendant’s corporate policy provided no means for Plaintiff to have

her number removed from the call list.

       34.      Defendant has a corporate policy to harass and abuse individuals

despite actual knowledge that the called parties do not wish to be called.

       35.      None of Defendant’s telephone calls placed to Plaintiff were for

“emergency purposes” as specified in 47 U.S.C. §227(b)(1)(A).

       36.      Defendant willfully and/or knowingly violated the TCPA with respect

to Plaintiff.

       37.      From each and every call placed without express consent by

Defendant to Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion

of privacy and the intrusion upon her right of seclusion.

       38.      From each and every call without express consent placed by

Defendant to Plaintiff’s cellular telephone, Plaintiff suffered the injury of the

occupation of her cellular telephone line and cellular telephone by unwelcome

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calls, making the telephone unavailable for legitimate callers or outgoing calls

while the telephone was ringing from Defendant’s call.

      39.    From each and every call placed without express consent by

Defendant to Plaintiff’s cellular telephone, Plaintiff suffered the injury of

unnecessary expenditure of her time. For calls she answered, the time she spent on

the call was unnecessary as she had repeatedly asked for the calls to stop. Even for

unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with

missed call notifications and call logs that reflected the unwanted calls. This also

impaired the usefulness of these features of Plaintiff’s cellular telephone, which are

designed to inform the user of important missed communications.

      40.    Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone was an injury in the form of a nuisance and

annoyance to Plaintiff. For calls that were answered, Plaintiff had to go to the

unnecessary trouble of answering them. Even for unanswered calls, Plaintiff had to

waste time to unlock the telephone and deal with missed call notifications and call

logs that reflected the unwanted calls. This also impaired the usefulness of these

features of Plaintiff’s cellular telephone, which are designed to inform the user of

important missed communications.




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       41.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

Plaintiff’s cellular telephone’s battery power.

       42.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone where a voice message was left which occupied space

in Plaintiff’s telephone or network.

       43.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s

chattel, namely her cellular telephone and her cellular telephone services.

       44.     As a result of the calls described above, Plaintiff suffered an invasion

of privacy. Plaintiff was also affect in a personal and individualized way by stress

and anxiety.

                                      COUNT I
                               (Violation of the TCPA)

       45.     Plaintiff fully incorporates and realleges paragraphs one (1) through

forty four (44) as if fully set forth herein.

       46.     Defendant willfully violated the TCPA with respect to Plaintiff,

especially for each of the auto-dialer calls made to Plaintiff’s cellular telephone

after Plaintiff notified Defendant that she wished for the calls to stop.

       47.     Defendant repeatedly placed non-emergency telephone calls to

Plaintiff’s cellular telephone using an automatic telephone dialing system or
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prerecorded or artificial voice without Plaintiff’s prior express consent in violation

of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

      WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues

so triable and judgment against Defendant for statutory damages, punitive

damages, actual damages, treble damages, enjoinder from further violations of

these parts and any other such relief the court may deem just and proper.

                                      COUNT II
                              (Violation of the FDCPA)

      48.    Plaintiff fully incorporates and realleges paragraphs one one (1)

through forty four (44) as if fully set forth herein.

      49.    At all times relevant to this action Defendant is subject to and must

abide by 15 U.S.C. § 1692 et seq.

      50.    Defendant has violated 15 U.S.C. § 1692(d) by willfully engaging in

conduct the natural consequence of which is to harass, oppress, or abuse any

person in connection with the collection of a debt.

      51.    Defendant has violated 15 U.S.C. § 1692(d)(5) by causing a telephone

to ring or engaging any person in telephone conversation repeatedly or

continuously with intent to annoy, abuse, or harass any person at the called

number.

      52.    Defendant has violated 15 U.S.C. § 1692(f) by using unfair and

unconscionable means to collect or attempt to collect any debt.
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      WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues

so triable and judgment against Defendant for statutory damages, punitive

damages, actual damages, costs, interest, attorney fees, enjoinder from further

violations of these parts and any other such relief the court may deem just and

proper.

                                      Respectfully submitted,


                                      /s/ Micah S. Adkins
                                      Micah S. Adkins, Esquire
                                      ASB-8639-I48A
                                      The Adkins Firm, P.C.
                                      7100 Executive Center Drive, Suite 110
                                      Brentwood, TN 37027
                                      Telephone: (615) 370-9659
                                      Facsimile: (615) 370-4099
                                      MicahAdkins@ItsYourCreditReport.com
                                      Counsel for Plaintiff

                                      and

                                      /s/ Octavio Gomez
                                      (motion for pro hac vice forthcoming)
                                      Octavio Gomez, Esquire
                                      Florida Bar No.: 033860
                                      Georgia Bar No.: 617963
                                      Morgan & Morgan, Tampa, P.A.
                                      One Tampa City Center
                                      201 N. Franklin Street, 7th Floor
                                      Tampa, FL 33602
                                      Tele: (813) 223-5505
                                      Fax: (813) 223-5402
                                      TGomez@ForThePeople.com
                                      ADMoore@ForThePeople.com

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